Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
01/26/2018 09:13 AM CST




                                                          - 669 -
                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                                                 CAMPBELL v. HANSEN
                                                  Cite as 298 Neb. 669



                                        Herbert Lee Campbell, appellant,
                                           v. Brad H ansen, appellee.
                                                     ___ N.W.2d ___

                                          Filed January 12, 2018.   No. S-17-399.

                1.	 Judgments: Jurisdiction: Appeal and Error. A jurisdictional question
                    which does not involve a factual dispute is determined by an appellate
                    court as a matter of law, which requires the appellate court to reach a
                    conclusion independent from the lower court’s decision.
                2.	 Affidavits: Appeal and Error. When an in forma pauperis application
                    is denied and the applicant seeks leave to proceed in forma pauperis in
                    order to obtain appellate review of that denial, the trial court does not
                    have authority to issue an order that would interfere with such appel-
                    late review.
                3.	 Jurisdiction: Affidavits: Appeal and Error. In an interlocutory appeal
                    from an order denying leave to proceed in forma pauperis, an appel-
                    late court obtains jurisdiction over the appeal upon the timely fil-
                    ing of a notice of appeal and a proper in forma pauperis application
                    and affidavit.

                  Petition for further review from the Court of Appeals, Inbody,
               R iedmann, and A rterburn, Judges, on appeal thereto from the
               District Court for Johnson County, Vicky L. Johnson, Judge.
               Judgment of Court of Appeals reversed, and cause remanded
               for further proceedings.
                    Herbert Lee Campbell, pro se.
                 Douglas J. Peterson, Attorney General, and Kimberly A.
               Klein for appellee.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, K elch, and
               Funke, JJ.
                                    - 670 -
                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                            CAMPBELL v. HANSEN
                             Cite as 298 Neb. 669
      Cassel, J.
                       INTRODUCTION
   This appeal presents a slightly different question from our
recent decision in Mumin v. Frakes.1 Here, the question is
whether a petitioner for habeas corpus relief whose initial
motion to proceed in forma pauperis (IFP) was denied and
who takes a timely interlocutory appeal from that denial,
accompanied by a motion to proceed IFP on appeal, must file
a second appeal where the district court also denies the second
IFP motion. Because the Nebraska Court of Appeals’ summary
dismissal incorrectly determined that a second appeal was nec-
essary, we reverse, and remand for further proceedings.

                         BACKGROUND
   Herbert Lee Campbell filed a petition for writ of habeas
corpus along with a motion to proceed IFP and poverty affi-
davit. The district court for Johnson County denied the motion
by placing an “X” on the line corresponding to the following:
“The Court hereby denies Motion to Proceed [IFP] for reason
this is a meritless/frivolous action. The party filing the appli-
cation shall have thirty days to proceed with an action or
appeal upon payment of fees, costs, or security.”
   Within 30 days, Campbell initiated an appeal from the dis-
trict court to the Court of Appeals, by filing a notice of appeal
along with a second motion to proceed IFP and a second pov-
erty affidavit. On May 5, 2017, the district court denied the
second motion to proceed IFP, that is, the motion to proceed
IFP on appeal. The court’s order stated that the legal positions
advanced were frivolous and that Campbell had 30 days to
proceed with an action or appeal upon payment of fees, costs,
or security.
   On June 26, 2017, the Court of Appeals summarily dismissed
the appeal. The court determined that it lacked jurisdiction,
because Campbell did not pay a docket fee or appeal by June 5

 1	
      Mumin v. Frakes, ante p. 381, ___ N.W.2d ___ (2017).
                                     - 671 -
                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                             CAMPBELL v. HANSEN
                              Cite as 298 Neb. 669
from the denial of IFP status on appeal. It subsequently over-
ruled Campbell’s motion for rehearing. We granted Campbell’s
petition for further review and later ordered the appeal to be
submitted without oral argument.

                   ASSIGNMENT OF ERROR
   Campbell assigns that the Court of Appeals erred in conclud-
ing that after the district court dismissed his request to proceed
IFP on appeal, he had 30 days in which to pay a docket fee or
appeal the May 5, 2017, denial of IFP status.

                   STANDARD OF REVIEW
   [1] A jurisdictional question which does not involve a fac-
tual dispute is determined by an appellate court as a matter of
law, which requires the appellate court to reach a conclusion
independent from the lower court’s decision.2

                            ANALYSIS
   We first dispense with one of Campbell’s arguments in sup-
port of his petition for further review. He asserted that the May
5, 2017, denial of IFP status was not for appeal purposes, but,
rather, was a second denial to proceed IFP on his petition for
writ of habeas corpus. Although we disagree, Campbell’s con-
fusion is somewhat understandable.
   The district court’s form of order presented three possible
options for the court to select as its ruling. The court selected
the following option:
         The Court hereby denies Motion to Proceed in Forma
      Pauperis[.] The legal positions advanced by petitioner
      are frivolous. The writ is a collateral attack on a judg-
      ment of a valid conviction. The court had jurisdiction
      of the parties and subject matter and such a writ will
      not lie. See Peterson v. Houston, 284 Neb. 861 (2012).
      The party filing the application shall have thirty days

 2	
      State v. Carter, 292 Neb. 16, 870 N.W.2d 641 (2015).
                                       - 672 -
                 Nebraska Supreme Court A dvance Sheets
                         298 Nebraska R eports
                               CAMPBELL v. HANSEN
                                Cite as 298 Neb. 669
      to proceed with an action or appeal upon payment of
      fees, costs, or security.
The court’s ruling did not specifically state that it was deny-
ing IFP for purposes of appeal. But the option for granting the
motion to proceed IFP stated that it was “for appeal purposes.”
Given this context and because Campbell filed the motion with
his notice of appeal, we are satisfied that the court’s denial of
IFP status in the May 2017 order was addressed to his substi-
tute for the statutory docket fee on appeal and not in further
response to his initial motion to proceed IFP.
   Campbell also asserted that “the district court was with-
out jurisdiction to enter the May 5, 2017 order.”3 Although
Campbell did not elaborate, he cited State v. Carter 4 and Neb.
Rev. Stat. § 25-2301.02 (Reissue 2016). Section 25-2301.02
authorized Campbell’s interlocutory appeal from the denial of
his first motion to proceed IFP and would have required that
he be provided with a free transcript of the hearing on IFP eli-
gibility, had there been such a hearing. To the extent Campbell
is arguing that the district court could not interfere with his
right to an interlocutory appeal of the denial of his request to
proceed IFP, we agree.
   [2] We recently clarified that a court does not have author-
ity to deny a second request to proceed IFP made as part of
an interlocutory appeal seeking appellate review of an initial
denial of a request to proceed IFP.5 As we explained in Glass
v. Kenney 6 and repeated in Mumin v. Frakes,7 when an IFP
application is denied and the applicant seeks leave to pro-
ceed IFP in order to obtain appellate review of that denial,
the trial court does not have authority to issue an order that

 3	
      Brief for appellant in support of petition for further review at 3.
 4	
      State v. Carter, supra note 2.
 5	
      See Mumin v. Frakes, supra note 1.
 6	
      See Glass v. Kenney, 268 Neb. 704, 687 N.W.2d 907 (2004).
 7	
      See Mumin v. Frakes, supra note 1.
                                     - 673 -
                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                             CAMPBELL v. HANSEN
                              Cite as 298 Neb. 669
would interfere with such appellate review. Here, the district
court did just that. After denying Campbell’s application to
proceed IFP at the commencement of the case, the court also
denied his application to proceed IFP on appeal from the ini-
tial denial.
   At this juncture, the procedural posture of Campbell’s case
diverges from that in Glass v. Kenney and Mumin v. Frakes.
In those cases, the applicant also filed an appeal from the
denial of IFP status on appeal. Here, Campbell did not do
so. For that reason, the Court of Appeals concluded it lacked
jurisdiction.
   [3] But Campbell took the necessary steps to vest jurisdic-
tion with the Court of Appeals. In an interlocutory appeal
from an order denying leave to proceed IFP, an appellate court
obtains jurisdiction over the appeal upon the timely filing of
a notice of appeal and a proper IFP application and affidavit.8
Campbell timely filed a notice of appeal, a motion to proceed
IFP, and a poverty affidavit. Thus, the Court of Appeals erred
in dismissing the appeal for lack of jurisdiction.
   The Court of Appeals did not have the benefit of our Mumin
v. Frakes opinion, and its dismissal is understandable under
the circumstances. In Glass v. Kenney and State v. Carter,9 the
applicants each filed two appeals—one appeal from an initial
order denying IFP and a second appeal from an order deny-
ing IFP on appeal. Thus, the Court of Appeals was under the
impression that Campbell should have paid a docket fee or
appealed the May 2017 denial of IFP status.
   But as our Mumin v. Frakes opinion explained, because
another statute authorizes commencement of a habeas corpus
proceeding without advance payment of fees,10 Campbell’s
petition for a writ of habeas corpus was properly filed with
the district court whether the first motion to proceed IFP

 8	
      See Glass v. Kenney, supra note 6.
 9	
      State v. Carter, supra note 2.
10	
      See Neb. Rev. Stat. § 29-2824 (Reissue 2016).
                                    - 674 -
                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                            CAMPBELL v. HANSEN
                             Cite as 298 Neb. 669
was granted or denied. Moreover, requiring an appeal from
the second motion to proceed IFP unnecessarily multiplies
appeals. As we pointed out in Mumin v. Frakes, where no
prepayment of fees or costs is required, deferring the ruling
on an IFP application would permit a trial court to reach the
merits of the case without a lengthy delay resulting from an
interlocutory appeal from an order denying IFP. Here, as in
Mumin v. Frakes, there was no district court order directly
ruling on the petition for writ of habeas corpus. Rather,
Campbell’s appeal ran solely from the first order denying IFP
status. According to § 25-2301.02, Campbell was entitled to
appellate review of the district court’s initial denial of IFP
status. He cannot be required to pay a docket fee in order to
obtain such review; rather, his poverty affidavit served as a
substitute for the statutory docket fee otherwise required.11
The Court of Appeals erred in dismissing the appeal for lack
of jurisdiction.
                         CONCLUSION
   Because the Court of Appeals acquired jurisdiction upon
Campbell’s timely filing of a notice of appeal, accompanied
by an application for IFP status and poverty affidavit, we
reverse its decision dismissing the appeal. We remand the
cause to the Court of Appeals for a determination on the mer-
its of the error assigned by Campbell regarding the denial of
his first motion to proceed IFP.
	R eversed and remanded for
	                                 further proceedings.
   Wright, J., not participating.

11	
      See Neb. Rev. Stat. §§ 25-1912 and 33-103 (Reissue 2016).
